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               IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TENNESSEE
                         WESTERN DIVISION
_________________________________________________________________

MCFADDEN COMMUNICATIONS, LLC,

                   Plaintiff,

v.                                             No.: 09-cv-2336

THE TRAVELERS INDEMNITY
COMPANY OF AMERICA,

               Defendant.
_________________________________________________________________

 STIPULATION OF VOLUNTARY DISMISSAL OF ALL CLAIMS WITH PREJUDICE
_________________________________________________________________

      COME   NOW    Plaintiff,    McFadden   Communications,        LLC,   and

Defendant, The Travelers Indemnity Company of America, by and

through their respective counsel of record, and, pursuant to Rule

41(a)(1) of the Federal Rules of Civil Procedure, file this, their

written Stipulation of Voluntary Dismissal of All Claims With

Prejudice and notify the Court that all claims have been resolved

between the parties.


                                   Respectfully Submitted and
                                   Stipulated to by:

                                   FARRIS BOBANGO BRANAN, PLC

                                    /s/ Garrett M. Estep
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                                         /s/ Michael G. McLaren
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